   Case: 3:18-cr-00158-WHR Doc #: 26 Filed: 07/15/19 Page: 1 of 2 PAGEID #: 121




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


UNITED STATES OF AMERICA                     :      CASE NO. 3:18-CR-00158

              v.                             :

                                             :
NASER ALMADAOJI

                     Defendant,


                      NOTICE OF APPEARANCE OF CO-COUNSEL


       Comes now the United States of America, through undersigned counsel, providing notice

that Trial Attorney Steven Ward, will, from this date forward appear in this case as co-counsel.


                                                    Respectfully submitted,

                                                    BENJAMIN C. GLASSMAN
                                                    United States Attorney

                                                    s/Dominick S. Gerace
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   Case: 3:18-cr-00158-WHR Doc #: 26 Filed: 07/15/19 Page: 2 of 2 PAGEID #: 122




                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Notice of Appearance of Co-Counsel was

electronically filed on all counsel of record on this 15th day of July 2019.



                                                     s/Dominick S. Gerace
                                                     DOMINICK S. GERACE (0082823)
                                                     Assistant United States Attorney
